             Case 1:24-mc-00002-JLS Document 1 Filed 01/05/24 Page 1 of 2




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

UNITED STATES OF AMERICA,

                      Plaintiff,

       -v-                                                               24-MC-2

$244,430.00 UNITED STATES CURRENCY
SEIZED ON OR ABOUT JULY 13, 2023
EVANS BANK CASHIER’S CHECK #56015,
HAVING A VALUE OF $35,364.61
SEIZED ON OR ABOUT JULY 13, 2023
EVANS BANK CASHIER’S CHECK #56022,
HAVING A VALUE OF $42,868.46
SEIZED ON OR ABOUT JULY 13, 2023
ASSORTED JEWELRY SEIZED FROM
VALENCIA JEWELRY INC. ON OR ABOUT
JULY 13, 2023

ONE ROLEX DATEJUST 41MM WATCH WITH
CUSTOM ADDED DIAMONDS SEIZED ON OR
ABOUT JULY 13, 2023,
                  Defendants in rem.
______________________________________________

                   STIPULATION TO EXTEND PLAINTIFF==S TIME
                TO FILE COMPLAINT IN CIVIL FORFEITURE ACTION


               IT IS HEREBY STIPULATED and agreed upon between the parties, the

United States of America by its attorney, Trini E. Ross, United States Attorney for the

Western District of New York, Mary Clare Kane, Assistant United States Attorney, of

counsel, and Phil Modrzynski Esq., attorney for putative claimant, David A. Zale, that the

Plaintiff’s time to file its Verified Complaint for Forfeiture be extended from January 11, 2024

to April 11, 2024, pursuant to Title 18, United States Code, Section 983(a)(3)(A).



                                               1
          Case 1:24-mc-00002-JLS Document 1 Filed 01/05/24 Page 2 of 2




       The parties to this Stipulation further agree that the putative claimant may revoke his

consent in writing to extend the time for the government to file its Verified Complaint for

Forfeiture against the above-named property, and in that event, the government shall then

have fourteen (14) days from the date the government received notice of such action to file

its Verified Complaint for Forfeiture.


                 5
Dated: January ______, 2024                                     5
                                               Dated: January ______, 2024

     TRINI E. ROSS
     United States Attorney
     Western District of New York



By: s/ Mary Clare Kane                         By: s/ Phil Modrzynski
    Mary Clare Kane                                Phil Modrzynski, Esq.
    Assistant United States Attorney               484 Delaware Avenue
    138 Delaware Ave                               Buffalo, NY 14202
    Buffalo, New York 14202                        716-203-6113
    (716) 843-5809                                 phil@law-wny.com
    mary.kane@usdoj.gov                            Attorney for David A. Zale




                                              2
